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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF SOUTH CAROLINA

JAMES WILLSON CHESHER                        §       CIVIL ACTION NO. 3:15-cv-02123-DCN
and CHERYL ANN CHESHER                       §
                                             §
       Plaintiffs,                           §
                                             §
v.                                           §
                                             §
3M COMPANY, et al.,                          §
                                             §
       Defendants.                           §


                 PLAINTIFFS’ MOTION FOR VACATUR PURSUANT TO
                    FED. R. CIV. PROC. 60 (b) (6) AND 28 U.S.C. § 455

       Come now plaintiffs and file this motion for vacatur pursuant to Fed. R. Civ. Proc. 60 (b)(6)

and 28 U.S.C. § 455, and would respectfully show as follows:


                                        BACKGROUND

                                     A. Procedural History


       This case concerns claims for damages arising from Mr. Chesher’s exposure to asbestos

while serving in the Navy. It was originally filed in state court, and removed to this Court on May

22, 2015. Plaintiffs originally filed a motion for remand, but withdrew that motion on July 26,

2015 (Doc. 95). The Court entered an agreed scheduling order soon thereafter (Doc. 101).

       The parties then began discovery and motion practice. A central issue in the case was

causation – the question of whether exposure to a particular defendant’s asbestos-containing

product helped cause the development of Mr. Chesher’s mesothelioma. Both plaintiffs and

defendants designated experts to opine on this outcome–determinative issue.

       Certain defendants filed a motion to exclude the testimony of plaintiffs’ experts (Doc. 181).

This motion was extensively briefed, and the Court held an evidentiary hearing February 28, 2017.

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       In an order dated March 31, 2017, the Court excluded the testimony of plaintiffs’ expert

Dr. Carlos Bedrossian (Doc. 308). Nearly four months later, the Court explained its reasons in a

supplemental order (Doc. 312). Meanwhile, Mr. Chesher died of mesothelioma on April 20, 2017.

       Shortly thereafter, defendant Crane Co. filed a renewed motion for summary judgment

(Doc. 313). This motion contended that “[f]ollowing the Court’s July 21, 2017 Order granting

Crane Co.’s Daubert Motion …, Plaintiffs have no expert to testify regarding specific causation;

the Order precludes plaintiffs from offering Dr. Bedrossian to provide expert testimony regarding

specific causation at trial, and plaintiffs stipulated that their other two experts will only testify

regarding general causation.” (Doc. 313 at 2-3). Plaintiffs filed a motion for reconsideration of

the Court’s Order excluding Bedrossian (Doc. 314). This motion, and the motion for summary

judgment, were heard by the Court on December 12, 2017, and denied at that time. The Court

then granted Crane’s motion for summary judgment on causation grounds (Doc. 323).



              B. Plaintiffs’ Knowledge Concerning Judge Norton’s Ownership
                               Interest in Multiple Defendants


       On or about July 22, 2021, plaintiffs’ counsel was contacted by a reporter from the Wall

Street Journal. Through e-mail exchanges and telephone conversations, counsel eventually learned

that Judge Norton owned stock in at least two of the defendants in this case. See affidavit of Peter

A. Kraus, attached as exhibit A.

       As set forth in the affidavit of Cory Powell, attached as exhibit B, as of 2014, the year

before this case was filed, Judge Norton owned stock in three of the defendants in this case:

General Electric Co., 3M Co., and Verizon. In the years 2015-2019, Judge Norton continued to




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own these stocks, in amounts that varied. In various years the holdings were worth less than

$15,000; between $15,000 and $50,000.

       For the reasons detailed below, Judge Norton had a mandatory duty to recuse himself from

this case, but he did not do so. Plaintiffs therefore request that the judgment in Crane Co.’s favor

be vacated and the case reopened. This request is not made lightly and is made with the utmost

respect for the Court.

                                          ARGUMENT


       28 U.S.C. §455(b) imposes a mandatory duty upon a judge to disqualify himself when “[he]

knows that he, individually or as a fiduciary … has a financial interest in the subject matter in

controversy or in a party to the proceeding ….” A “financial interest” is defined as “ownership of

a legal or equitable interest, however small ….” §455(d)(4). “[I]t is well-established that the

ownership of stock constitutes a ‘financial interest’ for purposes of §455(b)(4).”          Central

Telephone Co. of Va. v. Sprint Comms. Co. of Va., 715 F.3d 501, 515 (4th Cir. 2013), quoting Shell

Oil Co. v. United States, 672 F.3d 1283, 1289 (Fed. Cir. 2012). There is an exception for stock

held in a mutual fund, see §455(d)(4)(i), but as Judge Norton’s 2012 disclosure report

demonstrates, that exception does not apply here as he held the stocks directly.

       Fed. R. Civ Proc. 60(b) provides grounds upon which this Court “may relieve [plaintiffs]

from [the] final judgment” rendered in favor of Crane Co. in this case. Plaintiffs respectfully ask

the Court to relieve plaintiffs from that adverse judgment, and reopen the case, pursuant to Rule

60(b)(6), which affords such a remedy for “any other reason that justifies relief.” This rule is an

appropriate basis for relief in a case in which the judge, who rendered the adverse judgment, should

have recused himself. Liljeberg v. Health Serv. Acquisition Corp., 486 U.S. 847, 863-64 (1988).

Rule 60(b)(6) “has been described as a ‘grand reservoir of equitable power to do justice in a

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particular case.’” National Credit Union Admin. Bd. v. Gray, 1 F.3d 262, 266 (4th Cir. 1993),

quoting 7 Moore’s Fed. Prac. §60.27 [1], p. 60-266 (1993).

        A motion under Rule 60(b)(6) “must be made within a reasonable time ….” See Rule

60(c)(1). The Supreme Court set forth the standard for “determining” whether a judgment should

be vacated for a violation of §455(a) as follows:

               “[I]t is appropriate to consider the risk of injustice to the parties in the particular
               case, the risk that the denial of relief will produce injustice in other cases, and the
               risk of undermining the public's confidence in the judicial process. We must
               continuously bear in mind that “to perform its high function in the best way ‘justice
               must satisfy the appearance of justice.’” In re Murchison, 349 U.S. 133, 136, 75
               S.Ct. 623, 625, 99 L.Ed. 942 (1955) (citation omitted).

Liljeberg, supra, 486 U.S. at 864.

        Reopening this case, and vacating the judgment, is required under this framework. The

Supreme Court established beyond doubt in Liljeberg that mandatory recusal under §455(b) is the

type of “extraordinary” basis for relief contemplated under Rule 60(b)(6). See 486 U.S. at 863 n.

11.    Moreover, the court stressed that “§455(b)(4) requires disqualification no matter how

insubstantial the financial interest and regardless of whether or not the interest actually creates an

appearance of impropriety.” Id. at 859 n. 8.

        In Liljeberg, the Supreme Court held that vacatur of the judgment was appropriate, even

through the judge did not know of his disqualifying interest in the litigation:

        These facts create precisely the kind of appearance of impropriety that §455(a) was
        intended to prevent. The violation is neither insubstantial nor excusable. Although Judge
        Collins did not know of his fiduciary interest in the litigation, he certainly should have
        known. In fact, his failure to stay informed of this fiduciary interest may well constitute a
        separate violation of §455. See §455(c). Moreover, providing relief in cases such as this
        will not produce injustice in other cases; to the contrary, the Court of Appeals' willingness
        to enforce §455 may prevent a substantive injustice in some future case by encouraging a
        judge or litigant to more carefully examine possible grounds for disqualification and to
        promptly disclose them when discovered. It is therefore appropriate to vacate the judgment
        unless it can be said that respondent did not make a timely request for relief, or that it would
        otherwise be unfair to deprive the prevailing party of its judgment.

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       Id. at 867-68. This holding disposes of the present motion. If anything, recusal is even

more plainly warranted here, because Judge Norton was aware of his holdings, and therefore of

his disqualifying interest.

       The rule requiring recusal, in the event of a judge’s financial interest in litigation, is

absolute, and does not turn on a showing of actual bias, or of prejudice to the opposing party. As

the authors of the most respected treatise on federal procedure put it, “[t]he important point about

these provisions is that they eliminate any dispute about the substantiality of a financial interest.

If a judge … has any financial interest, as that term is defined, however small, in a party or in the

subject matter in controversy, the judge must recuse. There is no room for discretion.” 13 D

Charles A. Wright, Arthur Miller, Earl Cooper and Richard Freer, Federal Prac. & Proc. §3546,

pp. 75-77 (first emphasis in original, second added; footnotes omitted). Even if, however, it were

necessary to show harm to the opposing litigant, such harm exists here.

       The most immediate harm, of course, is that the Court wrote a lengthy opinion striking

plaintiffs’ expert, and then granted summary judgment, dismissing plaintiffs’ claims against the

remaining defendants. That ruling deprived plaintiffs of any chance of recovering compensation

from Crane Co.

       The order striking plaintiffs’ expert witness was an unusual one in asbestos litigation, and

received immediate criticism for being well outside the mainstream of causation rulings in asbestos

cases. See Note, Haskins v. 3M Co.: District of South Carolina Holds the Every Exposure Theory

Insufficient to Demonstrate Specific Causation Even if Legal Conclusions Are Scientifically Sound,

131 Harv. L. Rev. 658 (2017)1. As this note pointed out, “[t]he court applied the substantial factor



1
 Haskins was the name of a companion case the Court heard at the same time. The law review note may
be viewed at www.harvardlawreview.org/2017/12/haskins-v-3m-co/, last viewed on Oct. 29, 2021.
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test in name only and effectively employed a traditional but-for causation test instead. Although

Judge Norton made suggestions for what would be considered sufficient evidence, he ultimately

demanded evidence that may not be scientifically feasible to obtain.” Id. at 658-59. The authors

concluded as follows:

               Judge Norton’s rejection of Bedrossian’s expert opinions and simultaneous
               acceptance of their scientific premises is unusual. Multiple surveys have found that
               the primary distinction between the courts that reject the every exposure theory as
               evidence of specific causation and those that accept it is whether they question the
               scientific underpinnings of the expert opinion….Judge Norton, on the other hand,
               did not question the studies, the science of the threshold, the literature, or the
               qualifications of the experts. Instead, the court argued that Bedrossian’s science
               could not logically demonstrate specific causation. The court explicitly considered
               a scenario where the plaintiff could prove that a particular defendant’s marginal
               exposure could independently cause mesothelioma and ultimately rejected that
               evidence as well, because, even if the evidence were sound, to rely on it would
               render the substantial factor requirement meaningless.. That is, the court assumed
               the law ought to take precedence over scientific fact….

               In deciding this way, the court expanded the gap between the scientific realities of
               mesothelioma and the legal standard an asbestos plaintiff must meet. Judge Norton
               noted the scientific premises of the expert’s opinions were “uncontroversial” and
               scientifically reliable, but he ultimately rejected them….

               This is the equivalent of requiring a plaintiff in a traditional tort case to calculate
               the risk of experiencing the same multiple-decades-old injury at the hands of
               several potential defendants. The Haskins interpretation of “substantial factor”
               merely rehashed the traditional tort standard and added potentially insurmountable
               hurdles in a field where the courts have consistently determined that those standards
               are inappropriate….While the court’s evidentiary requirement seems simple, the
               opinion is devoid of any evidence demonstrating its scientific feasibility or any
               reference to previous cases where plaintiffs met this standard….To ask for kinds of
               evidence the court has never seen demands “more from experts than they
               can give.”…

               Judge Norton’s stringent interpretation of the substantial factor test drastically
               reduces plaintiffs’ possibilities of success.

Id. at 662-65 (first and last emphases added; others in original).

       Judge Norton’s ruling thus greatly benefitted all defendants in asbestos litigation, including

the defendants in which he owned and still owns stock. For example, it was cited by the Ohio

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Supreme Court as support for reversing a verdict in favor of a mesothelioma victim. Schwartz v.

Honeywell Int’l, Inc., 102 N.E. 3d 477, 482 (Ohio 2018). In any event, again, the recusal rule is

mandatory and does not depend on a showing of bias or prejudice.

       The reasons given by the Supreme Court for why vacatur might not be warranted in a

particular case do not apply here. There can be no question about the timeliness of plaintiffs’

request: plaintiffs only first learned of Judge Norton’s stock ownership a little over three months

ago, and acted promptly in filing this motion. Cf., e.g., Kolon Ind. Inc. v. E.I. DuPont de Nemours

and Co., 748 F.3d 160, 171 (4th Cir. 2014) (recusal motion untimely where movant “knew every

fact that eventually predicated its recusal motion almost a year before it first suggested recusal

might be appropriate … and over a year before it finally filed its first recusal motion….”).

       Finally, it is not unfair to deprive the prevailing party here, Crane Co., of its judgment. As

a general matter, whether the prevailing party will be prejudiced “is of lesser importance” in a Rule

60(b)(6) analysis. Nat’l Credit Union, supra, 1 F.3d at 265. “Additional legal costs, loss of

leverage in settlement discussions, and the protraction of the legal proceedings, while prejudicial,

are not typically considered unfair prejudice under the Rule 60(b) analysis.” Orlando Residence,

Ltd. v. Hilton Head Hotel Investors, 2013 WL 1103027, * 12 (D.S.C. Mar. 15, 2013) (Norton, J.),

citing Werner v. Carbo, 731 F.2d 204, 207 (4th Cir. 1984).

                                         CONCLUSION

       Wherefore, premises considered, plaintiffs respectfully pray that their motion for vacatur

be granted, and that this case be reopened and the summary judgment in defendant Crane Co.’s

favor be vacated.

                                              Respectfully submitted,

                                              THE HARDEE LAW FIRM



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                                                   /s/ Mark W. Hardee
                                                Mark W. Hardee
                                                South Carolina Bar No. 7857
                                                Federal ID: 2314
                                                2231 Devine Street Suite 202
                                                Columbia, South Carolina 29205
                                                Phone: (803) 799-0905
                                                mwhardee@bellsouth.net

                                                WATERS & KRAUS, LLP
                                                Charles S. Siegel
                                                Texas Bar No. 18341875
                                                Admitted Pro Hac Vice
                                                3141 Hood Street, Suite 700
                                                Dallas, Texas 75219
                                                Phone: (214) 357-6244
                                                siegel@waterskraus.com
                                                ATTORNEYS FOR PLAINTIFFS




                                  CERTIFICATE OF SERVICE
        I hereby certify that on November 2, 2021, the foregoing instrument has been served

electronically to all counsel of record in this case.



                                                   /s/ Mark W. Hardee
                                                Mar. W. Hardee




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          AO 10                                   FINANCIAL DISCLOSURE REPORT                                                    Report Required by the Ethics
        Rev. 1/2019                                                                                                               in Government Act of 1978
                                                            FOR CALENDAR YEAR 2019                                                (5 U.S.C. app. §§ 101-111)


 1. Person Reporting (last name, first, middle initial)                    2. Court or Organization                                3. Date of Report

  Norton, David C.                                                          U.S. District Court                                               07/22/2020


 4. Title (Article III judges indicate active or senior status;            5a. Report Type (check appropriate type)                6. Reporting Period
          magistrate judges indicate full- or part-time)
                                                                                 Nomination             Date                                  01/01/2019
  U.S. District Court Judge                                                      Initial               Annual         Final                        to
                                                                                                  ✔
                                                                                                                                              12/31/2019
                                                                           5b.        Amended Report

 7. Chambers or Office Address

  P.O. Box 835
  Charleston, SC 29402


                               IMPORTANT NOTES: The instructions accompanying this form must be followed. Complete all parts,
                                                 checking the NONE box for each part where you have no reportable information.



I. POSITIONS. (Reporting individual only; see pp. 9-13 of filing instructions )
          NONE (No reportable positions.)

                                             POSITION                                                           NAME OF ORGANIZATION/ENTITY

1.    Trustee                                                                              Article 5 Trust


2.    Trustee                                                                              Article 6 Trust


3.


4.


5.




II. AGREEMENTS. (Reporting individual only; see pp. 14-16 of filing instructions )
 ✔        NONE (No reportable agreements.)

                    DATE                                                                          PARTIES AND TERMS

1.


2.


3.
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III. NON-INVESTMENT INCOME. (Reporting individual and spouse; see pp. 17-24 of filing instructions )
A. Filer's Non-Investment Income
 ✔        NONE (No reportable non-investment income.)

                       DATE                                                        SOURCE AND TYPE                                                  INCOME
                                                                                                                                               (yours, not spouse's)

1.


2.


3.


4.




B. Spouse's Non-Investment Income - If you were married during any portion of the reporting year, complete this section.
(Dollar amount not required except for honoraria.)

          NONE (No reportable non-investment income.)

                       DATE                                                        SOURCE AND TYPE

1. 2019                                                 Web MD - Editorial Stipend


2. 2019                                                 Private Consulting


3. 2019                                                 Medical Director, Sharing Hope


4. 2019                                                 Newberry Pathology Associates - Autopsy Services


5. 2019                                                 Springer Publishing - Book Royalties


6. 2019                                                 Medical Director, LifeHope Labs, Atlanta, GA


7. 2019                                                 Editor, Cambridge University Press and College of American Pathologists Press


8.




IV. REIMBURSEMENTS -- transportation, lodging, food, entertainment.
(Includes those to spouse and dependent children; see pp. 25-27 of filing instructions.)

          NONE (No reportable reimbursements.)

               SOURCE                             DATES                         LOCATION                       PURPOSE              ITEMS PAID OR PROVIDED

1.    Bar Association - educational         01/17/2019 to                 Amelia Island, FL              Activity of professional   Transportation, lodging & food.
      seminar                               01/18/2019                                                   association

2.
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3.

4.

5.
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V. GIFTS. (Includes those to spouse and dependent children; see pp. 28-31 of filing instructions.)
 ✔       NONE (No reportable gifts.)

                  SOURCE                                                      DESCRIPTION                               VALUE

1.


2.


3.


4.


5.




VI. LIABILITIES. (Includes those of spouse and dependent children; see pp. 32-33 of filing instructions.)
 ✔       NONE (No reportable liabilities.)

                CREDITOR                                                      DESCRIPTION                            VALUE CODE

1.


2.


3.


4.


5.
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VII. INVESTMENTS and TRUSTS -- income, value, transactions (Includes those of spouse and dependent children; see pp. 34-60 of filing instructions.)
           NONE (No reportable income, assets, or transactions.)
                              A                                               B                            C                                                     D
                     Description of Assets                              Income during              Gross value at end                           Transactions during reporting period
                    (including trust assets)                           reporting period            of reporting period
                                                                  (1)            (2)               (1)           (2)             (1)             (2)      (3)             (4)               (5)
                  Place "(X)" after each asset                  Amount        Type (e g ,        Value         Value          Type (e g ,       Date    Value            Gain           Identity of
                 exempt from prior disclosure                   Code 1        div , rent,        Code 2        Method          buy, sell,      mm/dd/yy Code 2          Code 1         buyer/seller
                                                                 (A-H)         or int )           (J-P)        Code 3        redemption)                 (J-P)          (A-H)           (if private
                                                                                                               (Q-W)                                                                   transaction)


1.       AES Corp                                                               None                 J            T


2.       Apergegy Corp                                                          None                 J            T


3.       AT &T #1                                                  A          Dividend               J            T


4.       BP PLC ADR                                                A          Dividend              K             T


5.       Bristol Myers Squibb                                      A          Dividend              K             T


6.       Chevron Corp #1                                           A          Dividend              K             T


7.       Comcast Corp CL A #1                                      A          Dividend               J            T


8.       Corteva Inc                                               A          Dividend               J            T           Spinoff     06/03/19            J
                                                                                                                           (from line 11)
9.       Walt Disney Co #1                                         A          Dividend              K             T


10.      Dover                                                     A          Dividend              K             T


11.      Dow Inc #1                                                A          Dividend               J            T


12.      Dupont De Nemours Inc                                     A          Dividend               J            T           Spinoff     06/03/19            J
                                                                                                                           (from line 11)
13.      Eli Lilly & Co #1                                         A          Dividend              K             T


14.      Emerson Electric                                          A          Dividend              K             T


15.      Energy Transfer Partners LP #1                                         None                K             T


16.      Fidelity Hereford Street Trust Daily Govt                              None                 L            T
         MM #1
17.      General Electric Co #1                                    B          Dividend              K             T




  1 Income Gain Codes:                 A =$1,000 or less                    B =$1,001 - $2,500                   C =$2,501 - $5,000               D =$5,001 - $15,000              E =$15,001 - $50,000
      (See Columns B1 and D4)          F =$50,001 - $100,000                G =$100,001 - $1,000,000             H1 =$1,000,001 - $5,000,000      H2 =More than $5,000,000
  2 Value Codes                        J =$15,000 or less                   K =$15,001 - $50,000                 L =$50,001 - $100,000            M =$100,001 - $250,000
      (See Columns C1 and D3)          N =$250,001 - $500,000               O =$500,001 - $1,000,000             P1 =$1,000,001 - $5,000,000      P2 =$5,000,001 - $25,000,000
                                       P3 =$25,000,001 - $50,000,000                                             P4 =More than $50,000,000
  3 Value Method Codes                 Q =Appraisal                         R =Cost (Real Estate Only)           S =Assessment                    T =Cash Market
      (See Column C2)                  U =Book Value                        V =Other                             W =Estimated
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VII. INVESTMENTS and TRUSTS -- income, value, transactions (Includes those of spouse and dependent children; see pp. 34-60 of filing instructions.)
           NONE (No reportable income, assets, or transactions.)
                             A                                               B                            C                                                     D
                    Description of Assets                              Income during              Gross value at end                           Transactions during reporting period
                   (including trust assets)                           reporting period            of reporting period
                                                                 (1)            (2)               (1)           (2)             (1)             (2)      (3)             (4)               (5)
                 Place "(X)" after each asset                  Amount        Type (e g ,        Value         Value          Type (e g ,       Date    Value            Gain           Identity of
                exempt from prior disclosure                   Code 1        div , rent,        Code 2        Method          buy, sell,      mm/dd/yy Code 2          Code 1         buyer/seller
                                                                (A-H)         or int )           (J-P)        Code 3        redemption)                 (J-P)          (A-H)           (if private
                                                                                                              (Q-W)                                                                   transaction)


18.      Global Pmts Inc                                          A          Dividend               L            T           Spinoff     09/01/19           L
                                                                                                                          (from line 85)
19.      Knowles Corporation                                                   None                 J            T


20.      3M Company A                                                          None                                             Sold          11/05/19       J           D


21.      Pfizer Inc #1                                            A          Dividend              K             T


22.      Proctor & Gamble #1                                      A          Dividend               L            T


23.      South State Corp Com # 1                                 B          Dividend               L            T


24.      Suntrust Banks Inc                                       B          Dividend              K             T


25.      Synovus Financial Corp                                   A          Dividend               J            T


26.      Trust Finl Corp Com                                                   None                N             T          Merged       12/09/19           N
                                                                                                                          (with line 25)
27.      Wabtec Corp Inc                                                       None                 J            T           Spinoff     02/25/19            J
                                                                                                                          (from line 28)
28.      Westinghouse Air Brake Technologies Corp                              None


29.      Zimmer Biomet Hldgs Inc                                  A          Dividend               J            T


30.      Advantix Inc                                                          None                 J            T


31.      Alcoa Inc                                                             None                 J            T


32.      Altria Group                                             A          Dividend               J            T


33.      American Express Co                                      A          Dividend               J            T


34.      Amgen Inc                                                A          Dividend              K             T




  1 Income Gain Codes:                A =$1,000 or less                    B =$1,001 - $2,500                   C =$2,501 - $5,000               D =$5,001 - $15,000              E =$15,001 - $50,000
      (See Columns B1 and D4)         F =$50,001 - $100,000                G =$100,001 - $1,000,000             H1 =$1,000,001 - $5,000,000      H2 =More than $5,000,000
  2 Value Codes                       J =$15,000 or less                   K =$15,001 - $50,000                 L =$50,001 - $100,000            M =$100,001 - $250,000
      (See Columns C1 and D3)         N =$250,001 - $500,000               O =$500,001 - $1,000,000             P1 =$1,000,001 - $5,000,000      P2 =$5,000,001 - $25,000,000
                                      P3 =$25,000,001 - $50,000,000                                             P4 =More than $50,000,000
  3 Value Method Codes                Q =Appraisal                         R =Cost (Real Estate Only)           S =Assessment                    T =Cash Market
      (See Column C2)                 U =Book Value                        V =Other                             W =Estimated
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VII. INVESTMENTS and TRUSTS -- income, value, transactions (Includes those of spouse and dependent children; see pp. 34-60 of filing instructions.)
           NONE (No reportable income, assets, or transactions.)
                             A                                               B                            C                                                     D
                    Description of Assets                              Income during              Gross value at end                           Transactions during reporting period
                   (including trust assets)                           reporting period            of reporting period
                                                                 (1)            (2)               (1)           (2)             (1)             (2)      (3)             (4)               (5)
                 Place "(X)" after each asset                  Amount        Type (e g ,        Value         Value          Type (e g ,       Date    Value            Gain           Identity of
                exempt from prior disclosure                   Code 1        div , rent,        Code 2        Method          buy, sell,      mm/dd/yy Code 2          Code 1         buyer/seller
                                                                (A-H)         or int )           (J-P)        Code 3        redemption)                 (J-P)          (A-H)           (if private
                                                                                                              (Q-W)                                                                   transaction)


35.      Arconic Inc                                              A          Dividend               J            T


36.      AT&T Inc #2                                              A          Dividend              K             T


37.      Avanos Medical Inc                                                    None                 J            T


38.      Bank of America #1                                       A          Dividend               J            T


39.      Bank of New York Mellon Corp                             A          Dividend               J            T


40.      Berkshire Hathaway Inc Cl B                                           None                K             T


41.      Charter Communications                                                None                 J            T


42.      Chevron Corp #2                                          A          Dividend              K             T


43.      Cisco Sys Inc                                            A          Dividend              K             T


44.      Citigroup Inc                                            A          Dividend              K             T


45.      Fidelity Money Market Account                            A           Interest              J            T


46.      Fidelity Money Market Account                            A           Interest             K             T


47.      Coca-Cola Co                                             A          Dividend              K             T


48.      Comcast Corp CL A #2                                     A          Dividend               J            T


49.      Corteva Inc                                              A          Dividend               J            T           Spinoff     06/03/19            J
                                                                                                                          (from line 51)
50.      Walt Disney Co #2                                        A          Dividend               L            T


51.      Dow Inc                                                  A          Dividend               J            T




  1 Income Gain Codes:                A =$1,000 or less                    B =$1,001 - $2,500                   C =$2,501 - $5,000               D =$5,001 - $15,000              E =$15,001 - $50,000
      (See Columns B1 and D4)         F =$50,001 - $100,000                G =$100,001 - $1,000,000             H1 =$1,000,001 - $5,000,000      H2 =More than $5,000,000
  2 Value Codes                       J =$15,000 or less                   K =$15,001 - $50,000                 L =$50,001 - $100,000            M =$100,001 - $250,000
      (See Columns C1 and D3)         N =$250,001 - $500,000               O =$500,001 - $1,000,000             P1 =$1,000,001 - $5,000,000      P2 =$5,000,001 - $25,000,000
                                      P3 =$25,000,001 - $50,000,000                                             P4 =More than $50,000,000
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VII. INVESTMENTS and TRUSTS -- income, value, transactions (Includes those of spouse and dependent children; see pp. 34-60 of filing instructions.)
           NONE (No reportable income, assets, or transactions.)
                             A                                               B                            C                                                     D
                    Description of Assets                              Income during              Gross value at end                           Transactions during reporting period
                   (including trust assets)                           reporting period            of reporting period
                                                                 (1)            (2)               (1)           (2)             (1)             (2)      (3)             (4)               (5)
                 Place "(X)" after each asset                  Amount        Type (e g ,        Value         Value          Type (e g ,       Date    Value            Gain           Identity of
                exempt from prior disclosure                   Code 1        div , rent,        Code 2        Method          buy, sell,      mm/dd/yy Code 2          Code 1         buyer/seller
                                                                (A-H)         or int )           (J-P)        Code 3        redemption)                 (J-P)          (A-H)           (if private
                                                                                                              (Q-W)                                                                   transaction)


52.      Dupont De Nemours Inc                                    A          Dividend               J            T           Spinoff     06/03/19            J
                                                                                                                          (from line 51)
53.      DXC Technology Co.                                                    None                 J            T


54.      Duke Energy                                              A          Dividend               J            T


55.      Exxon Mobil Corp #1                                      A          Dividend               J            T


56.      Fidelity Hereford Street Trust Daily MM #2                            None                K             T


57.      Garret Motion Inc                                                     None                 J            T


58.      General Electric #2                                      A         Distribution            J            T


59.      Goldman Sachs Group Inc                                  A          Dividend               J            T


60.      Hartford Financial Services Group                        A          Dividend               J            T


61.      Hewlett Packard Inc Com                                  A          Dividend               J            T


62.      Home Depot Inc                                           B          Dividend              M             T


63.      Honeywell Intl Inc                                       A          Dividend              K             T


64.      Johnson & Johnson                                                     None                                             Sold          11/05/19       J           A


65.      Kimberly Clark                                           A          Dividend               J            T


66.      Kraft-Heinz Foods Inc CL A                               A          Dividend               J            T


67.      Lincoln National Corp                                    A          Dividend              K             T


68.      McDonalds Corp                                           A          Dividend               L            T




  1 Income Gain Codes:                A =$1,000 or less                    B =$1,001 - $2,500                   C =$2,501 - $5,000               D =$5,001 - $15,000              E =$15,001 - $50,000
      (See Columns B1 and D4)         F =$50,001 - $100,000                G =$100,001 - $1,000,000             H1 =$1,000,001 - $5,000,000      H2 =More than $5,000,000
  2 Value Codes                       J =$15,000 or less                   K =$15,001 - $50,000                 L =$50,001 - $100,000            M =$100,001 - $250,000
      (See Columns C1 and D3)         N =$250,001 - $500,000               O =$500,001 - $1,000,000             P1 =$1,000,001 - $5,000,000      P2 =$5,000,001 - $25,000,000
                                      P3 =$25,000,001 - $50,000,000                                             P4 =More than $50,000,000
  3 Value Method Codes                Q =Appraisal                         R =Cost (Real Estate Only)           S =Assessment                    T =Cash Market
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VII. INVESTMENTS and TRUSTS -- income, value, transactions (Includes those of spouse and dependent children; see pp. 34-60 of filing instructions.)
           NONE (No reportable income, assets, or transactions.)
                             A                                               B                            C                                                     D
                    Description of Assets                              Income during              Gross value at end                           Transactions during reporting period
                   (including trust assets)                           reporting period            of reporting period
                                                                 (1)            (2)               (1)           (2)             (1)             (2)      (3)             (4)               (5)
                 Place "(X)" after each asset                  Amount        Type (e g ,        Value         Value          Type (e g ,       Date    Value            Gain           Identity of
                exempt from prior disclosure                   Code 1        div , rent,        Code 2        Method          buy, sell,      mm/dd/yy Code 2          Code 1         buyer/seller
                                                                (A-H)         or int )           (J-P)        Code 3        redemption)                 (J-P)          (A-H)           (if private
                                                                                                              (Q-W)                                                                   transaction)


69.      Merck & Co Inc New                                       A          Dividend               J            T


70.      Micro Focus Intl                                                      None                 J            T


71.      Microsoft Corp                                           A          Dividend              K             T


72.      Mondelez Intl Inc Com                                                 None                 J            T


73.      JP Morgan Chase & Co                                     A          Dividend              K             T


74.      Nokia Corp                                               A          Dividend              K             T


75.      Pepsico Inc                                              A          Dividend              K             T


76.      Perspecta Inc                                                         None                 J            T


77.      Pfizer Inc #2                                            A          Dividend              K             T


78.      Phillip Morris Intl Inc                                  A          Dividend               J            T


79.      Proctor & Gamble #2                                      A          Dividend              K             T


80.      Promontory FDIC - Joint Non Qualified                                 None                N             T
         Acct.
81.      Promontory FDIC - Article 6 Trust                                     None                O             T


82.      Promontory FDIC - Article 5 Trust                                     None                M             T


83.      Residio Technologies Inc                                              None                 J            T


84.      Texas Instruments Inc                                    A          Dividend               L            T


85.      Total System Services Inc                                             None                K             T




  1 Income Gain Codes:                A =$1,000 or less                    B =$1,001 - $2,500                   C =$2,501 - $5,000               D =$5,001 - $15,000              E =$15,001 - $50,000
      (See Columns B1 and D4)         F =$50,001 - $100,000                G =$100,001 - $1,000,000             H1 =$1,000,001 - $5,000,000      H2 =More than $5,000,000
  2 Value Codes                       J =$15,000 or less                   K =$15,001 - $50,000                 L =$50,001 - $100,000            M =$100,001 - $250,000
      (See Columns C1 and D3)         N =$250,001 - $500,000               O =$500,001 - $1,000,000             P1 =$1,000,001 - $5,000,000      P2 =$5,000,001 - $25,000,000
                                      P3 =$25,000,001 - $50,000,000                                             P4 =More than $50,000,000
  3 Value Method Codes                Q =Appraisal                         R =Cost (Real Estate Only)           S =Assessment                    T =Cash Market
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VII. INVESTMENTS and TRUSTS -- income, value, transactions (Includes those of spouse and dependent children; see pp. 34-60 of filing instructions.)
           NONE (No reportable income, assets, or transactions.)
                             A                                               B                            C                                                     D
                    Description of Assets                              Income during              Gross value at end                           Transactions during reporting period
                   (including trust assets)                           reporting period            of reporting period
                                                                 (1)            (2)               (1)           (2)             (1)             (2)      (3)             (4)               (5)
                 Place "(X)" after each asset                  Amount        Type (e g ,        Value         Value          Type (e g ,       Date    Value            Gain           Identity of
                exempt from prior disclosure                   Code 1        div , rent,        Code 2        Method          buy, sell,      mm/dd/yy Code 2          Code 1         buyer/seller
                                                                (A-H)         or int )           (J-P)        Code 3        redemption)                 (J-P)          (A-H)           (if private
                                                                                                              (Q-W)                                                                   transaction)


86.      Travelers Companies Inc                                  A          Dividend              K             T


87.      Verizon Communications #1                                A          Dividend               J            T


88.      Wabtec Inc                                                            None                 J            T          Merged       02/25/19            J
                                                                                                                          (with line 89)
89.      Westinghouse Air Brake Technologies Corp                              None


90.      Bank of America #2                                       A           Int./Div.            K             T


91.      Chemours Co                                              A          Dividend               J            T


92.      Chevron Corp #3                                          A          Dividend               L            T


93.      CSX Corp                                                 A          Dividend              M             T


94.      Corteva Inc                                              A          Dividend               J            T           Spinoff     06/03/19            J
                                                                                                                          (from line 95)
95.      Dow Inc                                                  A          Dividend               J            T


96.      Dupont De Nemours Inc                                    A          Dividend               J            T           Spinoff     06/03/19            J
                                                                                                                          (from line 95)
97.      Eli Lilly & Co #2                                        A          Dividend              M             T


98.      Energy Transfer Partners LP #2                           A          Dividend              K             T


99.      Exxon Mobil Corp #2                                      A          Dividend              K             T


100. General Electric Co                                          A          Dividend              K             T


101. IBM                                                          B          Dividend               L            T


102. Motorola Solutions Inc                                       A          Dividend               J            T




  1 Income Gain Codes:                A =$1,000 or less                    B =$1,001 - $2,500                   C =$2,501 - $5,000               D =$5,001 - $15,000              E =$15,001 - $50,000
      (See Columns B1 and D4)         F =$50,001 - $100,000                G =$100,001 - $1,000,000             H1 =$1,000,001 - $5,000,000      H2 =More than $5,000,000
  2 Value Codes                       J =$15,000 or less                   K =$15,001 - $50,000                 L =$50,001 - $100,000            M =$100,001 - $250,000
      (See Columns C1 and D3)         N =$250,001 - $500,000               O =$500,001 - $1,000,000             P1 =$1,000,001 - $5,000,000      P2 =$5,000,001 - $25,000,000
                                      P3 =$25,000,001 - $50,000,000                                             P4 =More than $50,000,000
  3 Value Method Codes                Q =Appraisal                         R =Cost (Real Estate Only)           S =Assessment                    T =Cash Market
      (See Column C2)                 U =Book Value                        V =Other                             W =Estimated
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VII. INVESTMENTS and TRUSTS -- income, value, transactions (Includes those of spouse and dependent children; see pp. 34-60 of filing instructions.)
         NONE (No reportable income, assets, or transactions.)
                            A                                               B                            C                                                     D
                   Description of Assets                              Income during              Gross value at end                           Transactions during reporting period
                  (including trust assets)                           reporting period            of reporting period
                                                                (1)            (2)               (1)           (2)             (1)             (2)      (3)             (4)               (5)
               Place "(X)" after each asset                   Amount        Type (e g ,        Value         Value          Type (e g ,       Date    Value            Gain           Identity of
              exempt from prior disclosure                    Code 1        div , rent,        Code 2        Method          buy, sell,      mm/dd/yy Code 2          Code 1         buyer/seller
                                                               (A-H)         or int )           (J-P)        Code 3        redemption)                 (J-P)          (A-H)           (if private
                                                                                                             (Q-W)                                                                   transaction)


103. Norfolk Southern                                            B          Dividend              N             T


104. South State Corp Com #2                                     B          Dividend              M             T


105. Wells Fargo & Co                                            A          Dividend              K             T


106. At&T Inc #3                                                 A          Dividend              K             T


107. Bank of America Corp                                        A          Dividend              K             T


108. Chevron Corp #4                                             A          Dividend               L            T


109. Citigroup Inc Com New                                       A          Dividend              K             T


110. Corteva Inc                                                 A          Dividend               J            T           Spinoff     06/03/19            J
                                                                                                                        (from line 111)
111. Dow Inc                                                     A          Dividend               J            T


112. Dupont De Nemours Inc                                       A          Dividend               J            T           Spinoff     06/03/19            J
                                                                                                                        (from line 111)
113. IBM                                                         A          Dividend               L            T


114. JNL Growth Allocation                                       A          Dividend               L            T


115. JNL American Balanced                                       A          Dividend               L            T


116. JNL American Funds Global Bond                              A          Dividend               J            T


117. JNL Invesco Small Cap Growth                                A          Dividend               L            T


118. JNL JP Morgan Midcap Growth                                 A          Dividend               L            T


119. JNL Mellon Capital Consumer Disretionary                    A          Dividend               L            T
     Sector




  1 Income Gain Codes:               A =$1,000 or less                    B =$1,001 - $2,500                   C =$2,501 - $5,000               D =$5,001 - $15,000              E =$15,001 - $50,000
    (See Columns B1 and D4)          F =$50,001 - $100,000                G =$100,001 - $1,000,000             H1 =$1,000,001 - $5,000,000      H2 =More than $5,000,000
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    (See Columns C1 and D3)          N =$250,001 - $500,000               O =$500,001 - $1,000,000             P1 =$1,000,001 - $5,000,000      P2 =$5,000,001 - $25,000,000
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VII. INVESTMENTS and TRUSTS -- income, value, transactions (Includes those of spouse and dependent children; see pp. 34-60 of filing instructions.)
         NONE (No reportable income, assets, or transactions.)
                            A                                               B                            C                                                     D
                   Description of Assets                              Income during              Gross value at end                           Transactions during reporting period
                  (including trust assets)                           reporting period            of reporting period
                                                                (1)            (2)               (1)           (2)             (1)             (2)      (3)             (4)               (5)
               Place "(X)" after each asset                   Amount        Type (e g ,        Value         Value          Type (e g ,       Date    Value            Gain           Identity of
              exempt from prior disclosure                    Code 1        div , rent,        Code 2        Method          buy, sell,      mm/dd/yy Code 2          Code 1         buyer/seller
                                                               (A-H)         or int )           (J-P)        Code 3        redemption)                 (J-P)          (A-H)           (if private
                                                                                                             (Q-W)                                                                   transaction)


120. JNL Mellon Capital Healthcare Sector                        A          Dividend               L            T


121. JNL Mellon Capital Nasdaq 100                               A          Dividend               L            T


122. JNL S&P 4                                                   A          Dividend               L            T


123. JNL S&P Competive Advantage                                 A          Dividend               L            T


124. JNL T Rowe Price Established Growth                         A          Dividend               L            T


125. Promontory FDIC- David IRA                                               None                O             T


126. Wabtec Inc                                                  A          Dividend               J            T           Spinoff     02/25/19            J
                                                                                                                        (from line 128)
127. Wells Fargo Co                                              A          Dividend               J            T


128. Westinghouse Air Brake Technolgies Corp                                  None


129. Exxon Mobil Corp                                            A          Dividend              K             T


130. Fidelity Hereford Street Trust Daily MM #3                               None                 J            T


131. General Electric Cap Corp                                   A          Dividend              K             T


132. JNL Growth Allocation                                       A          Dividend               L            T


133. JNL American Funds Balanced                                 A          Dividend               L            T


134. JNL Invesco Small Cap Growth                                A          Dividend               L            T


135. JNL Morgan Midcap Growth                                    A          Dividend               L            T


136. JNL Mellon Capital Consumer Disretionary                    A          Dividend               L            T
     Sector




  1 Income Gain Codes:               A =$1,000 or less                    B =$1,001 - $2,500                   C =$2,501 - $5,000               D =$5,001 - $15,000              E =$15,001 - $50,000
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  2 Value Codes                      J =$15,000 or less                   K =$15,001 - $50,000                 L =$50,001 - $100,000            M =$100,001 - $250,000
    (See Columns C1 and D3)          N =$250,001 - $500,000               O =$500,001 - $1,000,000             P1 =$1,000,001 - $5,000,000      P2 =$5,000,001 - $25,000,000
                                     P3 =$25,000,001 - $50,000,000                                             P4 =More than $50,000,000
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VII. INVESTMENTS and TRUSTS -- income, value, transactions (Includes those of spouse and dependent children; see pp. 34-60 of filing instructions.)
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                            A                                               B                            C                                                     D
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                                                                (1)            (2)               (1)           (2)             (1)             (2)      (3)             (4)               (5)
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              exempt from prior disclosure                    Code 1        div , rent,        Code 2        Method          buy, sell,      mm/dd/yy Code 2          Code 1         buyer/seller
                                                               (A-H)         or int )           (J-P)        Code 3        redemption)                 (J-P)          (A-H)           (if private
                                                                                                             (Q-W)                                                                   transaction)


137. JNL Mellon Capital Heathcare Sector                         A          Dividend               L            T


138. JNL Mellon Capital Nasdaq 100                               A          Dividend               L            T


139. JNL S&P 4                                                   A          Dividend               L            T


140. JNL S&P Competive Advantage                                 A          Dividend               L            T


141. JNL T Rowe Price Established Growth                         A          Dividend               L            T


142. Wells Fargo Co                                              A          Dividend               J            T


143. AT&T Inc                                                    A          Dividend              K             T


144. CSX Corp                                                    A          Dividend              M             T


145. Exxon Mobil Corp                                            A          Dividend              K             T


146. South State Bank                                            C           Interest              L            T


147. North Carolina Rental Property !00%                         A             Rent               P1           W
     Transylvania County, NC
148. Lain Farm, Johnson County, Indiana                          E             Rent               P1           W


149. South Carolina State Deferred Comp Plan                     A          Dividend               L            T


150. South Carolina State Retirement Plan                        B          Dividend              M             T


151. MassMutual Life Ins (MML Equity Fund                        A          Dividend               J            T
     Portfolio)
152. Russell 2000 Index - Kim IRA                                A          Dividend              K             T


153. S & P 500 Index - Kim IRA                                   B          Dividend              M             T




  1 Income Gain Codes:               A =$1,000 or less                    B =$1,001 - $2,500                   C =$2,501 - $5,000               D =$5,001 - $15,000              E =$15,001 - $50,000
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VII. INVESTMENTS and TRUSTS -- income, value, transactions (Includes those of spouse and dependent children; see pp. 34-60 of filing instructions.)
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                            A                                               B                            C                                                     D
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                                                                (1)            (2)               (1)           (2)             (1)             (2)      (3)             (4)               (5)
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              exempt from prior disclosure                    Code 1        div , rent,        Code 2        Method          buy, sell,      mm/dd/yy Code 2          Code 1         buyer/seller
                                                               (A-H)         or int )           (J-P)        Code 3        redemption)                 (J-P)          (A-H)           (if private
                                                                                                             (Q-W)                                                                   transaction)


154. MSCI EAFE - Kim IRA                                         A          Dividend              K             T


155. Promontory FDIC MM - Kim IRA                                             None                O             T


156. Russell 2000 Index - Kim Non Qualified                      A          Dividend              K             T
     Acct.
157. S & P 500 Index - Kim Non Qualified Acct.                   B          Dividend              M             T


158. MSCI EAFE - Kim Non Qualified Acct.                         A          Dividend              K             T


159.


160.


161.




  1 Income Gain Codes:               A =$1,000 or less                    B =$1,001 - $2,500                   C =$2,501 - $5,000               D =$5,001 - $15,000              E =$15,001 - $50,000
    (See Columns B1 and D4)          F =$50,001 - $100,000                G =$100,001 - $1,000,000             H1 =$1,000,001 - $5,000,000      H2 =More than $5,000,000
  2 Value Codes                      J =$15,000 or less                   K =$15,001 - $50,000                 L =$50,001 - $100,000            M =$100,001 - $250,000
    (See Columns C1 and D3)          N =$250,001 - $500,000               O =$500,001 - $1,000,000             P1 =$1,000,001 - $5,000,000      P2 =$5,000,001 - $25,000,000
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                                                                      Name of Person Reporting                                                 Date of Report
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VIII. ADDITIONAL INFORMATION OR EXPLANATIONS. (Indicate part of report.)


  Explanations for Part VII. Investments and Trusts


  1. The rental property listed in Part VII, line 147 is located in Translyvania County, North Carolina, USA.

  2. Lain Farm listed on line 148.

    Lain Farm            value cost R      Annual Rental Income E (This property was purchased in 1981 and is located outside the city limits in Johnson County,
  Indiana, USA.Life Valuemark II

  3. Article 5 Trust consist of lines:44, 82, 90-113, 126, 128-131, and 142-145.

  4. Article 6 Trust consist of lines: 30-43, 45-66, 68-79, 81, 83-84, 86-89, and 127 .

  5. On 06/03/2019 there was split of Dow Inc into Corteva lines 8, 49, 95 and 111 and Dupont De Nemours Inc. lines 12, 52, 97, and 113.

  6. Line 86, Travelers Companies Inc should have been listed as partial sale instead of sale thus leaving asset as part of the investments.

  7. Preparer was unable to show Westinghouse Air Brake Technologies Corp lines 28, 89, and 128 as a merger on 02/25/2019 forming the American company
   Wabtec Inc. thus elimination Westinghouse Air Bake Technolgies Corp for the 2020 FDR Report.
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IX. CERTIFICATION.

    I certify that all information given above (including information pertaining to my spouse and minor or dependent children, if any) is
accurate, true, and complete to the best of my knowledge and belief, and that any information not reported was withheld because it met applicable statutory
provisions permitting non-disclosure.

   I further certify that earned income from outside employment and honoraria and the acceptance of gifts which have been reported are in
compliance with the provisions of 5 U.S.C. app. § 501 et. seq., 5 U.S.C. § 7353, and Judicial Conference regulations.




                                                                      Signature:   s/ David C. Norton


NOTE: ANY INDIVIDUAL WHO KNOWINGLY AND WILLFULLY FALSIFIES OR FAILS TO FILE THIS REPORT MAY BE SUBJECT TO CIVIL
AND CRIMINAL SANCTIONS (5 U.S.C. app. § 104)




                                             Committee on Financial Disclosure
                                             Administrative Office of the United States Courts
                                             Suite 2-301
                                             One Columbus Circle, N.E.
                                             Washington, D.C. 20544
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               EXHIBIT 2
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                     JUDGE NORTON FINANCIAL DISCLOSURES 2014-2019

                                        2014
LINE              STOCK                INCOME                VALUE
54                GE #1                >1,000                15,001-50,000
55                GE #2                1,001-2,500           50,001-100,000
87                3M                   <1,000                15,001-50,000
114               VERIZON #1           <1,000                <15,000
115               VERIZON #2           <1,000                <15,000
                                        2015
LINE              STOCK                INCOME                VALUE
54                GE #1                1,001-2,500           15,001-50,000
55                GE #2                <1,000                15,001-50,000
56                GE #3                1,001-2,500           50,001-100,000
88                3M                   <1,000                15,001-50,000
115               VERIZON #1           <1,000                <15,000
116               VERIZON #2           <1,000                <15,000
                                        2016
LINE              STOCK                INCOME                VALUE
57                GE #1                1,001-2,500           15,001-50,000
58                GE #2                <1,000                15,001-50,000
59                GE #3                1,001-2,500           50,001-100,000
92                3M                   <1,000                15,001-50,000
117               VERIZON #1           <1,000                <15,000
118               VERIZON #2           <1,000                <15,000
364               GE #4                BUY <15,000 7/20/16   <15,000
392               VERIZON              BUY <15,000 7/20/16   <15,000
                                        2017
LINE              STOCK                INCOME                VALUE
15                3M                   <1,000                <15,000
79                GE #2                <1,000                <15,000
142               VERIZON #1           <1,000                <15,000
214               GE #4                <1,000                <15,000
257               VERIZON #2           <1,000                <15,000
410               VERIZON              <1,000                <15,000
                                        2018
LINE              STOCK                INCOME                VALUE
17                3M                   <1,000                15,001-50,000
84                GE #2                SOLD <1,000 (GAIN)    <15,000
                                       12/29/18
149               VERIZON #1           <1,000                <15,000
163               GE                   <1,000                15,001-50,000
211               GE #4                SOLD <1,000 (GAIN)    <15,000
                                       12/29/18
255               VERIZON #2           SOLD <1,000 (GAIN)    <15,000
                                       12/29/18
317               GE CAP CORP          <1,000                15,001-50,000
408               VERIZON              SOLD <1,000 (GAIN)    <15,000
                                       12/29/18
                                        2019
LINE              STOCK                INCOME                VALUE
17                GE #1                1,001-2,500           15,001-50,000
20                3M                   SOLD 5,001-15,000     <15,000
                                       (GAIN) 11/29/19
58                GE #2                <1,000                <15,000
87                VERIZON #1           <1,000                <15,000
100               GE                   <1,000                <15,000
